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                                                                                                                          (NOTE: Identify Changes with Asterisks(*))
~AO 245C        (Rev. 09/11) Amended Judgment in a Criminal Case
                Sheet 1


                                             UNITED STATES DISTRICT COURT
                               Eastern                                    District of                                      Arkansas

           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A                              CIU~i~
                                  v.                                                                                                   EASTERN DISTRICT ARKANSAS


                    ERIC JOHN GRODZICKI
                                                                                    Case Number: 4:11-cr-98-DPM-3                          OCT 18 2012
                                                                                    USM Number: 26376-009
Date of Original Judgment:                  10/9/2012                               J. Brooks Wiggins                                                         I   CLERK
(Or Date of Last Amended Judgment)                                                  Defendant's Attorney

Reason for Amendment:
0 Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   0 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
0 Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    0 Modification oflmposed Term oflmprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
0 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               0 Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
ri/ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                    0 Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                      0 18 U.S.C. § 3559(c)(7)
                                                                                    0 Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
~ pleaded guilty to count(s)             One of the Superseding Information.
0    pleaded nolo contendere to count(s)
     which was accepted by the court.
0    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                        Nature of Offense                                                              Offense Ended
 21 usc§§ 846;

 841 (a)(1) & -(b)(1 )(B)               Conspiracy to possess with intent to distribute marijuana,

                                                                                         a Class B felony             *11/19/201 0                    1
       The defendant is sentenced as provided in pages 2 through                    10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0    The defendant has been found not guilty on count(s)
0    Count(s)                                                    0 is 0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                9/27/2012
                                                                                Date of Imposition of Judgment


                                                                                            ~~Jt-
                                                                                                {I
                                                                                    Signature of Judge
                                                                                    D.P. Marshall Jr.                                U.S. District Judge
                                                                                    Name of Judge                                   Title of Judge
                                                                                               I "6 0 efo fuA 'J..-o I;;..
                                                                                    Date
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 AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 2 - Imprisonment                                                                  (NOTE: Identity Changes with Asterisks(*))

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 DEFENDANT: ERIC JOHN GRODZICKI
 CASE NUMBER: 4:11-cr-98-DPM-3

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a
 total term of
ONE MONTH.




 lit' The court makes the following recommendations to the Bureau of Prisons:
The Court recommends commitment to a facility near Tucson, Arizona, to facilitate visits by family and friends who live there.




 D The defendant is remanded to the custody of the United States Marshal.

  ri/ The defendant shall surrender to the United States Marshal for this district:
      D     at    12:00                               D     a.m   ~ p.m.       on    10/26/2012
                 -------------------
      D     as notified by the United States Marshal.

  D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      D     before 2 p.m. on
      D     as notified by the United States Marshal.

      D     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
  I have executed this judgment as follows:




      Defendant delivered on
                                     ------------------------------- to
  a t - - - - - - - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                           By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___
                                                                                           DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Release                                                                    (NOTE: Identity Changes with Asterisks(*))

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                                                                                                          Judgment-Page _ _                     10
DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4: 11-cr-98-DPM-3
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of

2YEARS.




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anx unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the prooation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned b_y the defendant's criminal
          record1 personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defenaant's compliance with such notification requirement.
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           Sheet 3C- Supervised Release                                                            (NOTE: Identify Changes with Asterisks(*))

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                                                                                                Judgment-Page _ _
DEFENDANT: ERIC JOHN GRODZICKI
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                                       SPECIAL CONDITIONS OF SUPERVISION
1) Grodzicki is not a legal resident of this district. Supervision will take place in the district where he resides or a district
where a suitable release plan has been developed.

2) Grodzicki must spend SIXTY DAYS of his supervised release in intermittent confinement, either in a jail or a
residential-reentry setting as directed by the U.S. Probation Office.
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           Sheet 5 - Criminal Monetary Penalties                                                               (NOTE: Identify Changes with Asterisks(*))

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DEFENDANT: ERIC JOHN GRODZICKI
CASE NUMBER: 4:11-cr-98-DPM-3
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                                                                  Restitution
TOTALS           $ 100.00                                             $                                      $ 0.00


    The determination of restitution is deferred until_ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

0   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately JJroportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuantto 18 U.-s.c. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                        Total Loss*               Restitution Ordered        Priority or Percentage




TOTALS                                                           $                              $                 0.00

0    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

0    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     0    the interest requirement is waived for        0     fine        0 restitution.
     0    the interest requirement for          0     fine      0      restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, llO, ll OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April23, 1996.
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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks(*))

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DEFENDANT: ERIC JOHN GRODZICKI
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    lit Lump sum payment of$ _10_0_.0_0_ _ __ due immediately, balance due
           0 not later than                                        , or
           0   in accordance with 0        C,     0 D,         0   E,or    0 F below; or
B    0     Payment to begin immediately (may be combined with             0 C,      0 D, or     OF below); or

C    0     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    0     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lit Special instructions regarding the payment of criminal monetary penalties:
          The Court does not impose a fine because Grodzicki is unable to pay one, even on a reasonable installment
          schedule.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monet~ :P-enalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D The defendant shall pay the following court cost(s):
D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
